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                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                        IN THE UNITED STATES DISTRICT COURT                      December 30, 2016
                         FOR THE SOUTHERN DISTRICT OF TEXAS                       David J. Bradley, Clerk
                                  HOUSTON DIVISION



UNITED STATES OF AMERICA,                      §
                                               §
                       Plaintiff,              §
                                               §       CIVIL ACTION NO. H-16-2241
v.                                             §       CRIMINAL NUMBER H-13-575-06
                                               §
ZEBADIAH JEROME COMB,                          §
                                               §
                       Defendant.              §



                             MEMORANDUM OPINION AND ORDER


      Defendant, Zebadiah Jerome Comb, has filed a Motion Under 28

U.S.C.     §   2255 to Vacate, Set Aside, or Correct Sentence By a Person

in Federal Custody (Docket Entry No. 253) and a Memorandum of Law

in Support        of    28   U.S. C.    §   2255    (Docket    Entry No.   254) .            The

United States has filed a Motion for Summary Judgment and Answer to

Motion Under 28 U.S.C.              §   2255   (Docket Entry No.     284) . 1        For the

reasons explained below, the government's motion will be granted.

      Comb alleges           that his       trial attorney provided ineffective

assistance in advising him to accept a                        guilty plea without an

adequate factual basis for the plea and in not arguing that his

sentence was unreasonable and that he was entitled to a minor role

adjustment.         Comb also alleges              that his appellate      counsel was

ineffective because he did not raise these arguments in Comb's

direct appeal.


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          Docket entry numbers refer to Criminal No. H-13-575.
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     Comb pled guilty      to    aiding     and abetting bank    robbery   in

violation of 18 U.S.C.    §§    2113(a), (d), and 2 pursuant to a written

Plea Agreement    (Docket Entry No.         86).   Paragraph 6 of the Plea

Agreement states:

           Defendant is aware that Title 2 8, United States
     Code, § 1291, and Title 18, United States Code, § 3742,
     afford a defendant the right to appeal the conviction and
     sentence imposed.   Defendant knowingly and voluntarily
     waives the right to appeal the conviction and the
     sentence imposed, or the manner in which the sentence was
     determined.    Additionally, Defendant is aware that
     Title 28, United States Code, § 2255, affords the right
     to contest or "collaterally attack" a conviction or
     sentence after the conviction or sentence has become
     final.   Defendant knowingly and voluntarily waives the
     right to contest his/her conviction or sentence by means
     of any post-conviction proceeding.      In the event the
     Defendant files a notice of appeal following the
     imposition of the sentence, the United States will assert
     its rights under this agreement and seek specific
     performance of this waiver.

    At   Comb's     rearraignment     the     following   colloquy   occurred

between the court and Comb:

          THE COURT:    Now, both of you will please listen
     carefully. Before I can accept your guilty pleas, I must
     make a number of findings. My findings are based on your
     answers to my questions. In order for my findings to be
     correct, it is therefore necessary that all of your
     answers be truthful ad complete.



          THE COURT:     And, Mr. Comb, do you understand that?

          DEFENDANT COMB:        Yes, Your Honor.

         THE COURT: Also, since you are now under oath, if
    you gave a statement that was untrue, you could be
    prosecuted for the additional crime of perjury.      Will
    each of you agree with me this morning that if you do not
    understand anything that I say, you will stop and ask me
    to repeat or explain whatever you do not understand?

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             THE COURT:   And,    Mr.    Comb,   will you agree to do
     that?

             DEFENDANT COMB:     Yes, Your Honor.

         THE COURT: Also, you may stop at any time and speak
    with your attorney. You do not need anyone's permission
    to speak with your attorney.

(Transcript of Rearraignment, Docket Entry No. 217, pp. 4-5)



         THE COURT: How many times have you spoken with your
    attorney, Mr. Smith, about this case?

             DEFENDANT COMB:     About eight or nine times.

         THE COURT:  Has he discussed with you the charges
    against you and what the government would have to prove
    to establish your guilt?

             DEFENDANT COMB:     Yes, Your Honor.

         THE COURT: Has your attorney reviewed with you the
    evidence that the government has against you?

             DEFENDANT COMB:     Yes, Your Honor.

         THE COURT:   Has he discussed with you how the
    federal advisory sentencing guidelines might apply in
    your case?

             DEFENDANT COMB:     Yes, Your Honor.

         THE COURT: Has your attorney done everything that
    you have asked him to do?

             DEFENDANT COMB:     Yes, Your Honor.

         THE COURT: Are you fully satisfied with the advice
    and counsel that your attorney has provided you?

             DEFENDANT COMB:     Yes, Your Honor.

(Transcript of Rearraignment, Docket Entry No. 217, pp. 8-9)

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      THE COURT: And no determination has been made about
 what either of your sentences will be. If I accept your
 guilty pleas, a probation officer will interview each of
 you, investigate the facts of the case, and prepare a
 presentence investigation report.      You will have an
 opportunity to read that report and to discuss the report
 with your attorney before your sentencing.     You or the
 government may file objections to the presentence report.
 At the time of your sentencing I will rule on any
 objections to the presentence report and then I will
 determine your advisory guideline range and your
 sentence.

           What each of you needs to understand today is
 that this process of determining your sentence has not
 yet begun.    That means no one knows what advisory
 guideline range the probation officer will recommend or
 what advisory guideline range I will find applicable or
 what sentence I will impose.



       THE COURT:     And, Mr. Comb, do you understand that?

       DEFENDANT COMB:      Yes, Your Honor.

      THE COURT: If the sentence that I impose is greater
 than the sentence that you now expect or greater than the
 sentence that your attorney or anyone else may have
 predicted, you will be bound by your guilty plea today
 regardless of your sentence. You will not be allowed to
 change your mind and withdraw your guilty plea because
 you are not satisfied with your sentence.



       THE COURT:     Mr. Comb, do you understand that?

       DEFENDANT COMB:      Yes, Your Honor.

      THE COURT: The government has furnished me with a
 copy of each of your written plea agreements.    They're
 very similar, so I'm going to discuss them together. Do
 each of you have a copy of the agreements before you?




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          DEFENDANT COMB:        Yes, Your Honor.

(Transcript of Rearraignment, Docket Entry No. 217, pp. 10-12)



         THE COURT:        Mr.    Comb,     have   you   read your plea
    agreement?

          DEFENDANT COMB:        Yes, Your Honor.

          THE COURT:     When did you read it?

          DEFENDANT COMB:        Tuesday.     Tuesday.

          THE COURT:     Of this week?

          DEFENDANT COMB:        Yes, sir.

         THE COURT:      Have you discussed the agreement with
    your attorney?

          DEFENDANT COMB:        Yes, Your Honor.

         THE COURT: How much time would you estimate you've
    spent discussing the agreement with your attorney?

          DEFENDANT COMB:        Approximately an hour.

         THE COURT: All right.            Did he answer any questions
    that you may have had?

          DEFENDANT COMB:        Yes, sir.     Yes, Your Honor.

(Transcript of Rearraignment, Docket Entry No. 217, p. 13)



         THE COURT:   Paragraph 6 of each of your agreements
    says, "Defendant is aware that Title 28, United States
    Code, Section 1291 and Title 18, United States Code,
    Section 2742 afford a defendant the right to appeal the
    conviction and sentence imposed. Defendant knowingly and
    voluntarily waives the right to appeal the conviction and
    the sentence imposed or the manner in which the sentence
    was determined."



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         THE COURT: Mr. Comb, have you also discussed that
    provision of your plea agreement with your attorney?

    DEFENDANT COMB:      Yes, Your Honor.

         THE COURT: And as part of your plea agreement, do
    you also wish to waive the right to appeal the conviction
    and the sentence imposed and the manner in which the
    sentence was determined?

          DEFENDANT COMB:      Yes, Your Honor.

         THE COURT:   Paragraph 6 then says, "Additionally,
    defendant is aware that Title 28, United States Code,
    Section 2255 affords the right to contest or collaterally
    attack a conviction or sentence after the conviction or
    sentence has become final.      Defendant knowingly and
    voluntarily waives the right to contest his conviction or
    sentence by means of any post-conviction proceeding."



         THE COURT: Mr. Comb, have you also discussed that
    provision of your plea agreement with your attorney?

          DEFENDANT COMB:      Yes, Your Honor.

         THE COURT: And as part of your plea agreement, do
    you wish to waive the right to contest your conviction or
    sentence by means of any post-conviction proceeding?

          DEFENDANT COMB:      Yes, Your Honor.

(Transcript of Rearraignment, Docket Entry No. 217, pp. 14-16)



          THE COURT: Counsel, do you believe any other advice
    of rights is required before I can accept your client's
    plea?

          MR. SMITH:     I do not, Your Honor.

         THE COURT: All right.        Each of you may now sign the
    plea agreements.

              It is the finding of the Court that each
    defendant is fully competent and capable of entering an

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     informed plea, that each defendant's plea of guilty is a
     knowing and voluntary plea, supported by an independent
     basis in fact,    establishing each of the essential
     elements of the offense.

               I specifically find that each defendant has
     knowingly and voluntarily waived his right to appeal his
     sentence or conviction or the manner in which it was
     determined and has knowingly and voluntarily waived his
     right to collaterally attack his conviction or sentence.

               I therefore adjudge . . . Zebadiah Jerome Comb
     guilty of Count 1.

(Transcript of Rearraignment, Docket Entry No. 217, pp. 19-20)

     The court concludes that Comb knowingly and voluntarily waived

his right to collaterally attack his conviction or his sentence and

that the claims in his § 2255 motion are subject to the waiver.

     Moreover, even if Comb had not waived his right to seek relief

under§ 2255 none of his claims has any merit.                  Comb's attorney was

not ineffective in advising Comb to accept his guilty plea because

in the Factual Basis for Guilty Plea in his Plea Agreement (Docket

Entry No.     86,    pp.   7-9)   Comb admitted to all          of     the   essential

elements of aiding and abetting bank robbery.              Comb's counsel filed

Defendant's         Responses     and     Objections     to      the     Presentence

Investigation        Report     (Docket   Entry   No.   186)    objecting      to   the

recommendation in the Presentence Investigation Report ( "PSR") that

he receive a four-level enhancement as an organizer or leader in a

criminal activity involving five or more participants.                       At Comb's

sentencing the court overruled the objection after concluding that

the enhancement was supported by the facts in the Plea Agreement

and the PSR.        (Transcript of Sentencing, Docket Entry No. 218, p. 3)

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        Nor was Comb's counsel ineffective for not arguing that there

were        sentencing    disparities       or    in   failing       to    object     to   the

enhancement        under    Guideline       §     2B3.1(b) (7) (B)          Although       the

participants in the bank robbery had different roles in planning

and carrying out the robbery,               the facts he admitted in his Plea

Agreement        (i.e.,    "COMB    admitted he        was    the    consultant       in   the

neighborhood regarding bank robberies.                        COMB stated he coached

individuals about how best to rob banks."                       (Docket Entry No. 86,

p.    8) )    and the     credible   information in the              PSR    (Docket    Entry

No.    126) make it clear that Comb's trial counsel made the best

argument available to him under the evidence he was faced with.

Since these arguments have no merit, Comb's appellate counsel was

not ineffective in failing to raise them on appeal.                              Therefore,

even if Comb had not waived his right to collaterally attack his

conviction and sentence, he would not be entitled to relief because

he has        raised no credible argument              that    his    trial      counsel or

appellate counsel was deficient in representing Comb or that their

representation prejudiced him.

        In his Memorandum of Law Comb also argues that the court

should retroactively apply Amendment                    794    to    the United States

Sentencing Guidelines. 2            Even if Comb had not waived the right to

seek        collateral    relief,    that        argument     would       have   no   merit.


        2
      Comb's previously sought such relief in his 18 U.S.C.
§  3582 (c) (2) request for minor role adjustment (Docket Entry
No. 250), which the court denied on July 27, 2016 (Order, Docket
Entry No. 251).

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Amendments to the Sentencing Guidelines do not apply retroactively

unless the United States Sentencing Commission determines that the

amendment is to apply retroactively.          See United States Sentencing

Guidelines§§ lBl.lO(a) (2).         Because Amendment 794 is not listed in

§   lBl.lO (d),   the   amendment    does   not   apply   retroactively     and,

therefore, provides Comb no basis for relief.

      Accordingly,      the United States' Motion for Summary Judgment

(Docket Entry No.        284)   is GRANTED,   and Comb's Motion Under 28

U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence By a Person

in Federal Custody (Docket Entry No. 253) is DENIED.

      SIGNED at Houston, Texas, on this 30th day of December, 2016.




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                                                        SIM LAKE
                                              UNITED STATES DISTRICT JUDGE




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